EXHIBIT 7
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4
5                         October 1, 2024

6                TRANSCRIPT OF VIDEO-RECORDED
7                      PRESS CONFERENCE
8
9     "DIDDY LAWSUITS. LAWYER FOR MORE THAN 100 ALLEGED
10                      VICTIMS SPEAKS"
11
12        https://www.fox26houston.com/video/1525043
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20   Job No.: 561200
21   Pages: 1 - 33
22   Transcribed by: Christian Naaden
                         Transcript of Press Conference
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1                        P R O C E E D I N G S
2
3            TONY BUZBEE:         Hello everyone. My name is Tony
4    Buzbee. I'm a lawyer here in Houston. I'm licensed in
5    Texas and in New York. And I'll introduce other members
6    of our team as they speak.
7            As many of you know, our law firm has been at
8    the forefront of some of the most important litigation
9    in the United States. We like the tough cases. We
10   thrive in the complicated cases. We've handled over the
11   last 25 years some very big and very important cases. I
12   believe that this first may surpass them all. There are
13   many facets to this.
14           The conduct we will describe today occurred
15   over more than 20 years. There are many people and many
16   entities involved, and we're going to follow this
17   evidence wherever it takes us. We will find the silent
18   accomplices.
19           We will expose the enablers who enabled this
20   conduct behind closed doors. We will pursue this matter
21   no matter who the evidence implicates. These brave
22   victims who have stepped forward deserve nothing less.


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1            The biggest secret in the entertainment
2    industry that really wasn't a secret at all has finally
3    been revealed to the world. The wall of silence has now
4    been broken and victims are coming forward.
5            Our team has had at this point, more than 3000
6    and 285 individuals contact us, with people claiming
7    people claiming to have been victimized by Sean Combs
8    after vetting.
9            We now represent 120 individuals who intend to
10   bring civil claims in civil court against Sean "Diddy"
11   Combs, as well as claims against many other individuals
12   and entities that we will name as defendants as we file
13   these individual cases.
14           TONY BUZBEE:      And you should know to the
15   extent the clients feel comfortable, we also intend to
16   make these individuals available to the authorities,
17   specifically to the FBI.
18           And you should also know a few of them have
19   already been spoken to by the FBI. Now, before we
20   discuss the nature of the claims and claimants
21   themselves, let me comment on the large volume of calls
22   we have received since our first announcement.


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1            Even before the indictment of Sean Combs, we
2    had received a small volume of calls and had screened a
3    handful of cases after the indictment of Sean Combs and
4    the announcement that we were pursuing these claims,
5    the floodgates opened.
6            People who wouldn't otherwise, for a variety
7    of reasons, are now stepping forward to make their
8    voices heard and to pursue justice. But no, most of
9    these people are scared. They fear backlash in their
10   communities.
11           They fear backlash in their own families. They
12   are afraid of retaliation from the perpetrators and
13   their associates. They are rightly afraid for their own
14   personal safety. I expect that through this process,
15   many powerful people will be exposed. Many dirty
16   secrets will be revealed.
17           We know what we are potentially up against.
18   And as is always the case in situations like this, when
19   a celebrity is involved, people can be downright mean
20   and nasty.
21           You would be shocked at the length fans will
22   go, no matter the evidence to the contrary, to defend


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1    many, maybe two. But if you have a question, I'll be
2    pleased to try to answer it.
3             AUDIENCE:   Perfect. How many minors are making
4    accusation accusations in total? And are the feds aware
5    of the allegations of minors.
6             TONY BUZBEE:     In the case? I don't know what
7    the feds are aware of, but I do know it's 25 out of
8    this 120.
9             And Tony, I will I will say this to that
10   point. We welcome the FBI or any authority who wants to
11   come to us, and we're going to make that available to
12   these victims, because I think that's important.
13            My suspicion is based on talking with these
14   folks is that that, you know, the FBI is just not aware
15   of these people. The FBI has talked to some of these
16   folks.
17            And I'm going to try to encourage the victims
18   to, in fact, talk to the FBI because I think they have
19   some very important things to say.
20            AUDIENCE:   Tony, were all of the children
21   auditioning because they were musicians, or were any of
22   them kids of employees or anything like that?


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1             TONY BUZBEE:     All all seeking either TV or
2    some sort of music career with promises of, you know,
3    we're going to make you a star. Instead, basically did
4    things to them such that they don't want to have
5    anything to do with the entertainment industry ever
6    again.
7             All right, guys, thank you very much for your
8    attention. We're going to go now. Thank you.
9             AUDIENCE:   Tony, do you anticipate any Houston
10   cases, any filed here locally?
11            TONY BUZBEE:     Yeah, there's a few plaintiffs
12   here, but I don't anticipate filing here, probably in
13   New York City. Thank you.
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7    interest, financial or otherwise, in its outcome, the
8    above 32 pages contain a full, true and correct
9    transcription of the tape-recording that I received
10   regarding the event listed on the caption on page 1.
11
12           I further declare that I have no interest in
13   the event of the action.
14
15
16           November 11, 2024
17           Chris Naaden
18
19   (561200, Diddy lawsuits-Lawyer for more than 100
20   alleged victims speaks)
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